                                                               E-FILED; Montgomery Circuit Court
    Case
     Case8:22-cv-01142-PJM
          8:22-cv-01142-GLR Document
                             Document1-122
                                      8-1Docket:
                                           Filed
                                            Filed5/6/2022
                                                 05/11/22
                                                   05/11/22
                                                          3:14Page
                                                               Page
                                                               PM;  11ofof32
                                                                           32 5/6/2022 3:14 PM
                                                                   Submission:




DAVID SYDNEY, SWC PHOENIX                    IN THE CIRCUIT COURT OF
FUND I, L.P, MARTIN NOVICK, J                MONTGOMERY COUNTY,
RENEE BRENNAN LIVING TRUST,                  MARYLAND
SCOTT SCHROEPFER, KENNETH
KAMHOLZ, JOE SPEISER, and ELBERT             Case No.: C-15-CV-22-001527
CAPITAL I LLC, Individually and On
Behalf of All Others Similarly Situated,     Honorable Judge Cummins
                        Plaintiffs,
                                             MEMORANDUM OF LAW IN
     v.                                      SUPPORT OF PLAINTIFFS’
                                             MOTION FOR PRELIMINARY
CEDAR REALTY TRUST, INC., CEDAR              INJUNCTION
REALTY TRUST PARTNERSHIP, L.P.,
WHEELER       REAL       ESTATE
INVESTMENT TRUST, INC., BRUCE J.
SCHANZER, GREGG A. GONSALVES,
ABE   EISENSTAT,   STEVEN     G.
ROGERS, SABRINA KANNER, DARCY
D. MORRIS, RICHARD H. ROSS and
SHARON STERN



                        Defendants.
          Case
           Case8:22-cv-01142-PJM
                8:22-cv-01142-GLR Document
                                   Document1-122
                                            8-1 Filed
                                                 Filed05/11/22
                                                       05/11/22 Page
                                                                 Page22ofof32
                                                                            32



                                                         TABLE OF CONTENTS

PRELIMINARY STATEMENT ................................................................................................. 1


FACTUAL BACKGROUND ....................................................................................................... 3


APPLICABLE LEGAL STANDARD ...................................................................................... 11


ARGUMENT ............................................................................................................................... 12


          I.     ABSENT AN INJUNCTION, PLAINTIFFS WILL SUFFER IRREPARABLE
                 INJURY ..................................................................................................................... 12
          II. PLAINTIFFS’ CLAIMS ARE LIKELY TO SUCCEED ON THE MERITS .......... 13
                 A.      The Breach of Contract Claims Have a Strong Likelihood of Success ............ 13
                      1.Section 4(a) of the Articles Supplementary Obligates Cedar to Pay the
                      Liquidation Preference to Preferred Stockholders Before Any Distributions Are
                      Made to Common Stockholders............................................................................ 14
                      2. Even If The Proposed Transactions Do Not Trigger the Liqudation Preference,
                      They Effect a “Change of Control” Entitling Preferred Stockholders to Exercise
                      their Conversion Rights. ....................................................................................... 16
                      3. Cedar Breached the Covenant of Good Faith and Fair Dealing ....................... 19
                 B.      The Tortious Interference Claim Has a Strong Likelihood of Success ............ 21
                 C.      The Breach of Fiduciary Duty and Aiding and Abetting Claims Have a Strong
                         Likelihood of Success. ..................................................................................... 22
          III. THE BALANCE OF CONVENIENCE STRONGLY FAVORS A PRELIMINARY
               INJUNCTION ........................................................................................................... 24
          IV. THE PUBLIC INTEREST FAVORS A PRELIMINARY INJUNCTION .............. 25




CONCLUSION ........................................................................................................................... 25




                                                                            i
          Case
           Case8:22-cv-01142-PJM
                8:22-cv-01142-GLR Document
                                   Document1-122
                                            8-1 Filed
                                                 Filed05/11/22
                                                       05/11/22 Page
                                                                 Page33ofof32
                                                                            32



                                                       TABLE OF AUTHORITIES

Case ...................................................................................................................................... Page(s)

Bender v. Jordan,
  439 F. Supp. 2d (D.D.C. 2006) .................................................................................................25

Clancy v. King,
   954 A.2d 1092 (Md. 2008)………………………………………………………….. ........19,20

Columbia Ass’n, Inc. v. Downtown Columbia Arts & Culture Comm'n, Inc.,
  2021 WL 3127090 (Md. Ct. Spec. App. July 23, 2021) ...........................................................13

Comptroller Of Treasury v. Thompson Trailer Corp.,
  121 A.2d 850 (Md. 1956) .........................................................................................................14

Della Ratta v. Larkin,
  856 A.2d 643 (Md. 2004) ....................................................................................................19,23

DMF Leasing, Inc. v. Budget Rent-A-Car Of Maryland, Inc.,
  871 A.2d 639 (Md. 2005) .........................................................................................................12

Dual Inc. v. Lockheed Martin Corp.,
  857 A.2d 1095 (Md. 2004) .......................................................................................................14

Eisenberg v. Chicago Milwaukee Corp.,
    537 A.2d 1051 (Del. Ch. 1987)......................................................................................12,22,23

Fraidin v. Weitzman,
   611 A.2d 1046 (Md. Ct. Spec. App. 1992) ...............................................................................21

Gabhart v. Gabhart,
  370 N.E.2d 345 (Ind. 1977) ......................................................................................................20

Impac Mortg. Holdings, Inc. v. Timm,
  255 A.3d 89 (Md. 2021) .....................................................................................................13,16

In re FLS Holdings, Inc. S'holders Litig.,
    No. CIV. A. 12623, 1993 WL 104562 (Del. Ch. Apr. 2, 1993)……………………………..22

In re MultiPlan Corp. S’holders Litig.,
    268 A.3d 784 (Del. Ch. 2022) .................................................................................................24

Lerner v. Lerner,
   511 A.2d 501 (Md. 1986) .................................................................................................2,12,13



                                                                              ii
          Case
           Case8:22-cv-01142-PJM
                8:22-cv-01142-GLR Document
                                   Document1-122
                                            8-1 Filed
                                                 Filed05/11/22
                                                       05/11/22 Page
                                                                 Page44ofof32
                                                                            32



Leviness v. Consol. Gas, Elec. Light & Power Co. of Baltimore,
   80 A. 304 (Md. 1911) ...............................................................................................................22

Marcus v. W2007 Grace Acquisition I, Inc.,
  203 F. Supp. 3d 332 (S.D.N.Y. 2016) ......................................................................................21

MAS Assocs., LLC v. Korotki,
  214 A.3d 1076 (Md. 2019) .......................................................................................................20

ODS Techs., L.P. v. Marshall,
  832 A.2d 1254 (Del. Ch. 2003)............................................................................................12,24

Orkin v. Jacobson,
  332 A.2d 901 (1975) .................................................................................................................16

Plank, v. Cherneski,
   231 A.3d 436 (Md. 2020) .........................................................................................................22

Savoie v. Merchant’s Bank,
   84 F.3d 52 (2d Cir. 1996)......................................................................................................2,13

State Dep't of Health & Mental Hygiene v. Baltimore Cty.,
   383 A.2d 51 (1977) ................................................................................................................2,12

Quadrangle Offshore (Cayman) LLC v. Kenetech Corp.,
  1999 Del. Ch. LEXIS 213 (Del. Ch. Oct. 13, 1999) ........................................................... 14-21

Vozzolo v. Air Canada,
  No. 20-CV-03503 (PMH), 2021 WL 5113387 (S.D.N.Y. Nov. 3, 2021) ................................24

WSC/2005 v. Trio Ventures Assocs.,
     190 A.3d 255 (Md. 2018) .............................................................................................13,19

Statue.................................................................................................................................... Page(s)

Md. Code. Ann., Rule 2-405.1 ..................................................................................................20,21

Md. Code. Ann., Rule 15-502 ..........................................................................................................1

Md. Code Ann., Rule 15-503(c) ....................................................................................................24

Md. Code. Ann., Rule 15-505 ..........................................................................................................1




                                                                             iii
        Case8:22-cv-01142-PJM
       Case  8:22-cv-01142-GLR Document
                                Document1-122
                                         8-1 Filed
                                              Filed05/11/22
                                                    05/11/22 Page
                                                              Page55ofof32
                                                                         32



       Pursuant to Maryland Rules 15-502 and 15-505, Plaintiffs David Sydney, SWC Phoenix

Fund I, L.P, Martin Novick, J Renee Brennan Living Trust, Scott Schroepfer, Kenneth Kamholz,

Joe Speiser, and Elbert Capital I LLC (“Plaintiffs”), on behalf of themselves and all other Preferred

Stockholders of Defendant Cedar by their undersigned attorneys, respectfully move this Court for

an order (i) enjoining distribution of any of the Gross Proceeds from the Proposed Transactions to

any Common Stockholders pending a determination on the merits of Plaintiffs’ claims; (ii)

enjoining the Wheeler Merger; and (iii) imposing a constructive trust on all of the Gross Proceeds

from the Proposed Transactions in favor of Plaintiffs and the Class, and escrowing the Gross

Proceeds, pending a determination on the merits of Plaintiffs’ claims. 1

                                PRELIMINARY STATEMENT

       This action concerns a scheme orchestrated by Defendants in bad faith to attempt to deprive

Preferred Stockholders of their Liquidation Preference of at least $25.00 per share (worth $161.3

million in the aggregate) and crash the price of the Preferred Stock ¶ 1.

       The scheme arises out of the recently announced Proposed Transactions to (i) sell all of

Cedar’s properties to third parties via the Grocery-Anchored Transaction and the Wheeler Merger

for over $1 billion (less assumed mortgage debt), (ii) discharge all of Cedar’s liabilities, and (iii)

distribute all of the net proceeds (totaling approximately $396 million) exclusively to Common

Stockholders, despite the entitlement of Preferred Stockholders to priority payment of the

Liquidation Preference and to exercise their rights to convert their Preferred Stock to Common

Stock (“Conversion Rights”) upon the occurrence of a Change of Control at Cedar. ¶ 2. The


1
 To the extent not otherwise defined herein, capitalized terms shall have the same meaning as in
Plaintiffs’ Amended Class Action Complaint. In all quotations, any emphasis is added
unless otherwise noted, and all internal citations are omitted. Citations to “¶ __” are to
paragraphs of Plaintiffs’ Class Action Complaint (the “Complaint”). Citations to “Enright Aff.
Ex.” are to the Exhibits attached to the Affidavit of Donald J. Enright, dated May __, 2022,
submitted herewith.
                                                   1
       Case
        Case8:22-cv-01142-PJM
             8:22-cv-01142-GLR Document
                                Document1-122
                                         8-1 Filed
                                              Filed05/11/22
                                                    05/11/22 Page
                                                              Page66ofof32
                                                                         32



Board’s motive for favoring Common Stockholders is transparent—the individual Board

Defendants collectively stand to earn tens of millions of dollars on their Common Stock from the

Proposed Transactions, but according to public records, do not own any Preferred Stock, and thus

have no incentive to protect the interests of Preferred Stockholders. ¶¶ 20-27.

       Irreparable injury should be “weighed very heavily in the trial court's evaluation of the

request for interim injunctive relief.” State Dep't of Health & Mental Hygiene v. Baltimore Cty.,

383 A.2d 51, 58 (1977) (per curiam). Irreparable injury exists if, “in seeking redress at law,”

plaintiffs would need to initiate a “multiplicity of vexatious and unprofitable suits.” Smith v.

Shiebeck, 24 A.2d 795, 801 (1942); see also Savoie v. Merchants Bank, 84 F.3d 52, 58 (2d Cir.

1996) (irreparable injury exists if common fund distributed and prevailing plaintiffs would need

to recover from hundreds of recipients; “a recourse [that] is so impractical as to be infeasible”).

       Here, declining to enjoin Defendant from distributing any of the Gross Proceeds to

Common Stockholders before a determination on the merits will subject Plaintiffs to irreparable

injury because if Plaintiffs ultimately prevail on the merits they will need to commence thousands

of lawsuits across the country to “claw back” payments wrongfully distributed to Common

Stockholders. Instead, the Court should maintain the status quo by holding all the Gross Proceeds

in escrow until the case is resolved, and if Defendants prevail, it can distribute the proceeds to

Common Stockholders. See Lerner v. Lerner, 511 A.2d 501, 512 (Md. 1986) (“complications can

be avoided simply by maintaining the status quo until the merits are decided.”).

       Additionally, all of Plaintiffs’ claims have a strong likelihood of success on the merits, and

the balance of convenience and the public interest both favor an injunction. (Sections II-IV below).

Therefore, Plaintiffs are entitled to the preliminary injunction requested.




                                                     2
       Case
        Case8:22-cv-01142-PJM
             8:22-cv-01142-GLR Document
                                Document1-122
                                         8-1 Filed
                                              Filed05/11/22
                                                    05/11/22 Page
                                                              Page77ofof32
                                                                         32



                                  FACTUAL BACKGROUND

       Plaintiffs are holders of Cedar’s Series B and/or Series C Preferred Stock. ¶¶12-19.

Defendant Cedar is a REIT that focuses primarily on ownership, operation and redevelopment of

grocery-anchored shopping centers. ¶28. As of April 18, 2022, Cedar had issued and outstanding

(i) 13,640,067 shares of Common Stock, (ii) 1,450,000 shares of Series B Preferred Stock, and

(iii) 5,000,0000 shares of Series C Preferred Stock. ¶62. Cedar conducts substantially all of its

business through Defendant Cedar Operating Partnership. ¶29; see Enright Aff., Ex. 8 at 4.

       Defendant Wheeler is a Maryland corporation and publicly-traded REIT (ticker: WHLR)

that also operates shopping centers and has three series of preferred stock outstanding. ¶¶31-32.

       The individual Board Defendants in this action are the members of the Cedar Board who

approved the Proposed Transactions. ¶¶20-27. The Proxy confirms that none of the Board

Defendants owns any Preferred Stock, but either personally or through entities they manage or in

which they have an ownership interest, they stand to earn tens of millions of dollars from their

Common Stock upon consummation of the Proposed Transactions. Id; see also Enright Aff. Ex.

27 at 59, 85. 2 The Proxy also confirms that (i) Preferred Stockholders will not be entitled to vote

on the Proposed Transactions or to exercise their Conversion Rights; and (ii) the fairness opinion

of the Board’s financial advisor focused exclusively on Common Stockholders, and did not opine

on the fairness of the Proposed Transactions to Preferred Stockholders. Id. at 3, 40, 42. The

Preferred Stockholders thus had no one advocating for their interests during negotiations, and will

not have anyone advocating for their interests in connection with the vote.




2
 A copy of the Proxy issued by Cedar on April 21, 2022, in connection with the Proposed
Transactions is attached as Exhibit 27 to the accompanying Affidavit of Donald J. Enright, dated
May 6, 2022 (“Enright Aff.”).

                                                     3
       Case
        Case8:22-cv-01142-PJM
             8:22-cv-01142-GLR Document
                                Document1-122
                                         8-1 Filed
                                              Filed05/11/22
                                                    05/11/22 Page
                                                              Page88ofof32
                                                                         32



The Cedar Preferred Articles Supplementary

       Cedar’s Series B and C Preferred Stock are governed by Articles Supplementary to Cedar’s

Articles of Incorporation. ¶¶ 68-79; see also Enright Aff. Ex. 1 at 1-3; Ex. 2 at 1-4. 3

Background of Cedar’s Proposed Liquidation

       The Proxy discloses that the Board first considered a liquidation of the Company in July

2019. See Enright Aff. Ex. 27 at 28. In June 2021, Defendants Schanzer and Gonsalves

subsequently met with BofA Securities (the Company’s financial advisor) “to discuss a potential

liquidation versus a whole-company sale alternative.” Id. at 31.

       On September 9, 2021, Cedar issued a press release (“September 2021 Press Release”)

announcing that the Cedar Board had initiated a dual-track process to review the Company’s

strategic alternatives in order to maximize stockholder value. See Enright Aff. Ex. 3. In the

September 2021 Press Release, Schanzer promised to maximize value for “all shareholders” (i.e.,

both Common and Preferred Stockholders):

       We believe there is a profound disconnect between Cedar’s share price and the
       underlying value of our real estate, as evidenced by recent transaction activity both
       within our portfolio and in our markets. The Board is committed to maximizing
       value for all our shareholders and, accordingly, we believe that this dual-track
       strategic review process will enable us to achieve that. Id. 4

       By late February 2022, Schanzer and the rest of the Board had completed negotiation of

the Proposed Transactions, which they relabeled a “sum of the parts” transaction instead of calling

it a liquidation (plainly in order to deprive Preferred Stockholders of the Liquidation Preference).

Enright Aff. Ex. 27 at 38.




3
  The Series C Articles Supplementary are annexed as Exhibit 1 to the Enright Affidavit; the
Series B Articles Supplementary are annexed as Exhibit 2 to the Enright Affidavit.
4 A copy of the September 2021 Press Release is annexed as Exhibit 3 to the Enright Affidavit.

                                                      4
       Case
        Case8:22-cv-01142-PJM
             8:22-cv-01142-GLR Document
                                Document1-122
                                         8-1 Filed
                                              Filed05/11/22
                                                    05/11/22 Page
                                                              Page99ofof32
                                                                         32



The Proposed Transactions

       On March 3, 2022, Cedar filed a Form 8-K (“March 2022 Cedar 8-K”) announcing that it

had agreed to sell all of Cedar’s properties via the Proposed Transactions, which are expected to

close by the end of the Q2 2022, and generate Gross Proceeds of over $1 billion (less assumed

mortgage debt). ¶¶ 107-112, see also Enright Aff. Ex. 4, 7. 5 The March 2022 Cedar Form 8-K

estimates that the Net Proceeds from the Proposed Transactions will exceed $29.00 per share of

common stock, which equals approximately $396 million based on 13,640,067 shares of Common

Stock issued and outstanding as of April 18, 2022. ¶¶ 113-14; see also Enright Aff. Ex. 27 at 83.

       Per Section 3.1 of the Wheeler Merger Agreement (“WMA”) all of the $396 million in Net

Proceeds from the Proposed Transactions will be distributed exclusively to Common Stockholders

(with no distributions to Preferred Stockholders). 6 Moreover, the WMA also provides that all of

Cedar’s Common Stock will be cancelled, while the Preferred Stock will be orphaned at what

remains of Cedar, which will become a wholly owned subsidiary of Wheeler. The Preferred

Stockholders will not be permitted to exercise their Conversion Rights, nor will they have recourse

to Wheeler’s assets. As Schanzer conceded in the March 2022 press release, “this combination of

transactions represents the best possible outcome for our common shareholders.” (Emphases

added) Enright Aff. Ex. 4 at Ex. 99.1. But it is the worst possible outcome for Preferred

Stockholders.

       Since Preferred Stockholders are not receiving any distributions from the Proposed

Transactions and are being denied their Conversion Rights, the March 2022 Cedar Form 8-K seeks

to reassure them by baldly representing that (i) the Wheeler Properties are worth $291.3 million,



5
  A copy of the March 2022 Cedar Form 8-K is annexed as Exhibit 4 to the Enright Affidavit.
6
  A copy of the Wheeler Merger Agreement is annexed as Exhibit 5 to the Enright Affidavit.

                                                    5
      Case
       Case8:22-cv-01142-PJM
            8:22-cv-01142-GLR Document
                               Document1-122
                                        8-1 Filed
                                             Filed05/11/22
                                                   05/11/22 Page
                                                             Page10
                                                                  10ofof32
                                                                         32



and thus purportedly have adequate equity to cover the $161.3 million Liquidation Preference

(after subtracting the $130 million borrowed against the Wheeler Properties from KeyBank);

(Enright Aff. Ex. 4), and (ii) the income from the Wheeler Properties will enable undisrupted

payment of dividends on the Preferred Stock. See Enright Aff. Ex. 4. Neither representation is

credible.

The Wheeler Properties Are Not Worth $291.3 Million

       The claim that the Wheeler Properties are worth $291.3 million is not credible because

Wheeler is not actually paying $291.3 million for the Wheeler Properties. Instead, Wheeler is (i)

borrowing $130 million against the Wheeler Properties from KeyBank to finance Cedar’s $130

Million Distribution to Common Stockholders (Enright Aff. Ex. 4), and (ii) through Cedar,

assuming responsibility for the $161.3 million Liquidation Preference. (Enright Aff. Ex. 4). The

total of those two numbers is $291.3 million.7

       Absent a preliminary injunction, however, neither Cedar nor Wheeler reasonably expects

that the Wheeler Properties could satisfy the full Liquidation Preference of $161.3 million. To the

contrary, after Cedar announced that (i) Preferred Stockholders would receive nothing from the

Proposed Transactions, and (ii) Wheeler—a tiny REIT worth $20 million with a history of

shareholder oppression and management dysfunction (see infra)—would control the remnants of

Cedar as a wholly owned subsidiary (albeit without any recourse to Wheeler’s assets), the



7
  While the Preferred Stock will technically remain an obligation of Cedar, Wheeler will own
100% of Cedar after consummation of the Wheeler Merger (Enright Aff. Ex. 4), and thus as a
practical matter, Wheeler will fully control Cedar and the Wheeler Properties.8 Data from Cedar’s
website indicates that at least two of the Wheeler Properties—Oakland Commons and Fieldstone
Marketplace—have substantially lower vacancy rates than publicly reported. For example, Cedar’s
latest Form 10-K filed on March 10, 2022 represents that Oakland Commons is 100% occupied,
but the website and a call placed to a local retailer indicate that the space previously occupied by
Walmart at that property—totaling about 60% of the rentable space—is now vacant.

                                                     6
      Case
       Case8:22-cv-01142-PJM
            8:22-cv-01142-GLR Document
                               Document1-122
                                        8-1 Filed
                                             Filed05/11/22
                                                   05/11/22 Page
                                                             Page11
                                                                  11ofof32
                                                                         32



Preferred Stock’s value plummeted. The combined market value of the Series B and C Preferred

Stock dropped from $151.3 million to $61.7 million over the next two trading days, causing

Preferred Stockholders to lose nearly $90 million. ¶ 7 (charts depicting sharp price drops).

       The current combined market value of the Preferred Stock is approximately $85 million—

little more than half of their aggregate Liquidation Preference of $161.3 million. See Enright Aff.

Ex. 20. This means that Wheeler can presently retire Preferred Stock at a sharp discount to the

Liquidation Preference. Put another way, if Wheeler were to buy all of the Preferred Stock at this

price, it would reduce the “value” of the Wheeler Properties to $215 million (i.e., $130 million +

$85 million) from the inflated $291.3 million assigned in connection with the Proposed

Transactions.

       Indeed, if there was sufficient equity value in the Wheeler Properties to sell them for $291.3

million, Cedar could have simply sold the Wheeler Properties for cash, and used the proceeds to

pay both the Liquidation Preference in full, and a $130 million distribution to Common

Stockholders. The fact that Cedar did not do so means that the Wheeler Properties cannot fetch a

price sufficient to pay the Liquidation Preference in full while still financing a $130 million

distribution to Common Stockholders. Instead, it is clear that Cedar and Wheeler inflated the value

of the Wheeler Properties in connection with the Wheeler Merger to equal the $130 million they

want to pay to Common Stockholders, plus the Liquidation Preference.

       Moreover, disclosures in the Proxy confirm that the Wheeler Properties (referred to as the

“Remainco Properties” in the Proxy) are not worth $291.3 million. Specifically, the Proxy

discloses that on January 21, 2022, a bidder (“Party C”) offered to acquire all of the Grocery-

Anchored Properties and the Wheeler Properties for $1.05 billion in cash. Party C’s bid valued the

Grocery-Anchored Properties at $810 million, and the Wheeler Properties at $240 million—more



                                                     7
      Case
       Case8:22-cv-01142-PJM
            8:22-cv-01142-GLR Document
                               Document1-122
                                        8-1 Filed
                                             Filed05/11/22
                                                   05/11/22 Page
                                                             Page12
                                                                  12ofof32
                                                                         32



than $50 million lower than the inflated $291.3 million value assigned to the Wheeler Properties

in connection with the Wheeler Merger. See Enright Aff. Ex. 27 at 34.




                                                   8
      Case
       Case8:22-cv-01142-PJM
            8:22-cv-01142-GLR Document
                               Document1-122
                                        8-1 Filed
                                             Filed05/11/22
                                                   05/11/22 Page
                                                             Page13
                                                                  13ofof32
                                                                         32



The Wheeler Properties Do Not Have The Cash Flow to Pay Dividends on the Preferred Stock

       The claim that the income from the Wheeler Properties will enable undisrupted payment

of all required dividends on the Preferred Stock is also not credible. Preliminarily, the reference in

the March 2022 Cedar Form 8-K to ensuring uninterrupted payment of “required” dividends is a

red herring since the Articles Supplementary do not “require” payment of dividends to Preferred

Stockholders. Instead, for example, the Series C Articles Supplementary provide that Preferred

Stockholders are entitled to dividends only “when and as authorized by the Board of Directors, out

of funds legally available for payment of dividends . . .” Enright Aff. Ex. 1 at 1. The Series B

Articles Supplementary contain similar language. Enright Aff. Ex. 2 at 1. Since Wheeler will

control Cedar, it can simply refuse to declare dividends, and/or divert cash flow from the Wheeler

Properties so there are no funds legally available for payment of dividends. Wheeler’s history of

oppression of its own preferred shareholders (see infra) indicates that this is exactly what will

happen.

       Additionally, disclosures in the March 2022 Cedar Form 8-K and Cedar’s Form 10-K filed

with the SEC on March 10, 2022 (“Cedar 2021 10-K”, attached to Enright Aff. as Ex. 8), reveal

that the Wheeler Properties are lower-quality than the Grocery-Anchored Properties. Per Ex. 7 to

the Enright Aff., the 33 Grocery-Anchored Properties boast an (i) average occupancy rate of

88.9%, and (ii) average base rent of $15.19 per square foot. In contrast, as per Ex. 8 to the Enright

Aff., the Wheeler Properties have (i) an average occupancy rate of only 83.7% (approximately five

percent lower than the Grocery-Anchored Properties), and (ii) average base rent of only $10.70

per square foot (approximately 30% lower than the average base rent of the Grocery-Anchored




                                                      9
      Case
       Case8:22-cv-01142-PJM
            8:22-cv-01142-GLR Document
                               Document1-122
                                        8-1 Filed
                                             Filed05/11/22
                                                   05/11/22 Page
                                                             Page14
                                                                  14ofof32
                                                                         32



Properties). 8 These metrics indicate that the Cedar Board deliberately allocated inferior properties

to Wheeler, and that the operating cash flow from the Wheeler Properties will be inadequate to

pay future dividends on the Preferred Stock after servicing the KeyBank Loan, and paying required

capital expenditures for the Wheeler Properties. 9

       Third parties have seen right through Defendants’ thinly disguised attempt to fleece

Preferred Stockholders for the benefit of Common Stockholders. As an analyst at Raymond

James—a global investment bank and financial services company—wrote after Cedar announced

the Proposed Transactions:

       [c]ertainly other REIT preferred shares have been sent to purgatory in other M&A
       transactions, but they have been more of a byproduct of M&A, and not the driving
       factor behind the deal structure. CDR and its advisors may be patting themselves
       on the back for creative deal/legal gymnastics, but there could be other broader
       negative implications for the industry . . . We believe this [deal] sets a bad precedent
       for the sector. 10


8
  Data from Cedar’s website indicates that at least two of the Wheeler Properties—Oakland
Commons and Fieldstone Marketplace—have substantially lower vacancy rates than publicly
reported. For example, Cedar’s latest Form 10-K filed on March 10, 2022 represents that Oakland
Commons is 100% occupied, but the website and a call placed to a local retailer indicate that the
space previously occupied by Walmart at that property—totaling about 60% of the rentable
space—is now vacant.
9
   The Proxy discloses that the Wheeler Properties generated $19.1 million in “net operating
income” in 2021, which it purports should be sufficient to cover the $10.8 million in annual
dividends payable to Preferred Stockholders. But “net operating income” is a GAAP metric that
does not account for (i) debt service on the KeyBank loan financing Wheeler’s purchase of the
Wheeler Properties (comprised of interest, which is a non-operating expense, and repayment of
principal, which is a cash flow item not captured in operating expenses); and (ii) capital
expenditures necessary to maintain the Wheeler Properties in good condition (which is a cash flow
item not captured in operating expenses). See Enright Aff. Ex. 8 at 46 (Statement of Operations),
50 (Statement of Cash Flows). Only after the magnitude of those—and other relevant deductions
(such as additional management fees that Wheeler may impose on the Wheeler Properties)—are
accurately quantified, can the amount of net cash flow, if any, from the Wheeler Properties
available to pay dividends to Preferred Stockholders be determined. Even under the most generous
assumptions, Cedar’s continued ability to pay the dividends is dubious at best.
10
   A copy of the Raymond James report (“RJ Report”) is annexed as Exhibit 19 to the Enright
Affidavit. The quote in the text appears at page 2 of the RJ Report.

                                                     10
      Case
       Case8:22-cv-01142-PJM
            8:22-cv-01142-GLR Document
                               Document1-122
                                        8-1 Filed
                                             Filed05/11/22
                                                   05/11/22 Page
                                                             Page15
                                                                  15ofof32
                                                                         32



Cedar Rejects a Merger With Wheeler in November 2017 Based on Wheeler’s Small Size

       Cedar’s choice of Wheeler as a merger partner in early 2022 was odd given Cedar’s quick

rejection of Wheeler’s unsolicited 2017 bid to merge with Cedar as “adversely consequential”:

       Cedar is a $1.35-billion company, with a current equity market capitalization of
       approximately $550 million. Wheeler is a $375-million company with a current
       equity market capitalization of approximately $95 million. Although relative size
       differences may not matter in some cases, in this instance they would be adversely
       consequential. See Cedar Nixes Merger Bid from Wheeler REIT article excerpt,
       attached to Enright Aff. as Ex. 24.

       Fast forward to 2022, and with Wheeler’s market capitalization down to slightly above $20

million (a nearly 80% drop), the Cedar Board now claims that merging with Wheeler is in the best

interests of Cedar stockholders. The Board’s change of heart is plainly driven by improper

motivations (i.e., to deprive Preferred Stockholders of the Liquidation Preference by relabeling

Cedar’s liquidation as a “merger” and denying the Preferred Stockholders’ Conversion Rights).

Wheeler’s Oppression of its Own Preferred Stockholders

       Wheeler currently has three series of preferred stock outstanding: Series A Preferred, Series

B Convertible Preferred (“Series B Preferred” or “Series B Preferred Stock”), and Series D

Cumulative Convertible Preferred (“Series D Preferred” or “Series D Preferred Stock”). The

Series B Preferred trade publicly on Nasdaq under the ticker WHLRP, and the Series D Preferred

trade publicly on Nasdaq under the ticker WHLRD. See Wheeler Form 10-K for the fiscal year

ended December 31, 2021 (“Wheeler 2021 10-K”), attached to Enright Aff. as Ex. 9.

       In March 2018, shortly after its bid to merge with Cedar was rejected, and purportedly to

retain cash flow to pay operating expenses and reduce debt, the Wheeler Board suspended dividend

payments on its (i) common stock, and (ii) Series A, Series B and Series D Preferred stock (the

latter suspension beginning with the three months ended December 31, 2018). As of December

31, 2020, Wheeler reported the following total dividend arrears on its preferred stock: Series A

                                                    11
      Case
       Case8:22-cv-01142-PJM
            8:22-cv-01142-GLR Document
                               Document1-122
                                        8-1 Filed
                                             Filed05/11/22
                                                   05/11/22 Page
                                                             Page16
                                                                  16ofof32
                                                                         32



(approximately $114,000), Series B (approximately $9.5 million), and Series D (approximately

$20.9 million). Total dividend arrears on all preferred stock totaled $30.51 million. Subsequently,

in December 2020, Wheeler announced a tender offer for its Series D Preferred stock and accepted

for purchase nearly 500,000 preferred shares at prices below par. ¶¶84-85; see also Enright Aff.

Ex. 10-12. Thereafter, in late 2021, Wheeler’s common stockholders approved an amendment of

the terms of the Company’s Series A and B Preferred Stock eliminating all of their accumulated

and unpaid dividends (totaling nearly $12 million), and removing their cumulative dividend rights

so that no further dividends would accumulate on the Series A and B Preferred Stock. ¶¶86-87;

see also Enright Aff. Ex. 13-14. The dividend arrears on the Series D Preferred Stock continued

to accumulate, however, and as of December 31, 2021, the outstanding Series D Preferred Stock

had unpaid dividends in the amount of approximately $26.16 million. see also Enright Aff. Ex. 9.

       Wheeler’s oppression of its preferred stockholders has spawned several litigations, as

reported in the Wheeler 2021 10-K. ¶¶ 88-90; see also Enright Aff. Ex. 9.

Wheeler Management and Board Dysfunction and Cratering Stock Price

        Wheeler also has a long history of management and board dysfunction. ¶¶ 91-102; see

also Enright Aff. Ex.s 9, 15-18, 22, 26. That chaos has caused its stock price to crater in recent

years. See Enright Aff. Ex. 21. Accordingly, there is little doubt that Cedar selected Wheeler as its

merger partner in connection with the Proposed Transactions in bad faith.

                             APPLICABLE LEGAL STANDARD

       Maryland courts consider four factors when adjudicating a preliminary injunction motion:

(i) the likelihood that the plaintiff will succeed on the merits; (ii) whether the plaintiff will suffer

irreparable injury or lose the status quo without an injunction; (iii) the “balance of convenience,”

determined by whether greater injury would be done to the defendant by granting the injunction



                                                      12
      Case
       Case8:22-cv-01142-PJM
            8:22-cv-01142-GLR Document
                               Document1-122
                                        8-1 Filed
                                             Filed05/11/22
                                                   05/11/22 Page
                                                             Page17
                                                                  17ofof32
                                                                         32



than would result from its refusal; and, (iv) where appropriate, the public interest. State Dep't, 383

A.2d at 55 (ordering injunction and reversing trial court).

       Plaintiffs need not prove each factor in isolation—i.e., as a plaintiff “in a tort action [must]

prove each of the elements of the tort.” Lerner, 511 A.2d at 504. Rather, the Court should weigh

all four factors together on a continuum in deciding whether injunctive relief is appropriate. For

example, a stronger showing on one factor decreases the level of showing that needs to be made

on another factor. Lerner, 511 A.2d at 507-08; State Dep't, 383 A.2d. at 58 (weighing second

element, preservation of status quo, “very heavily”); see also DMF Leasing, Inc. v. Budget Rent-

A-Car Of Maryland, Inc., 871 A.2d 639, 644 (Md. 2005) (flexibility “remains one of the

cornerstones of meting out the equitable remedy of an injunction”). Plaintiffs make a strong

showing on all four factors—individually and in the aggregate.

                                           ARGUMENT

       I.      ABSENT AN INJUNCTION, PLAINTIFFS WILL SUFFER
               IRREPARABLE INJURY.

       Irreparable injury “weigh[s] very heavily in the trial court's evaluation of the request for

interim injunctive relief.” State Dep't, 383 A.2d at 58. It is therefore “quite clear” that “a

preliminary injunction will lie when it is necessary to preserve the status quo . . . [and] the court’s

ability to render a meaningful decision on the merits[].” Id. at 57 (1977); see also Lerner, 511 A.2d

at 511 (preliminary injunction should be granted “when one of the parties is committing an act that

will . . . destroy the status quo of the controversy before a full hearing can be had”); Eisenberg v.

Chicago Milwaukee Corp., 537 A.2d 1051, 1062 (Del. Ch. 1987) (considering whether, absent

injunction, the harm can “easily be undone”); ODS Techs., L.P. v. Marshall, 832 A.2d 1254, 1263

(Del. Ch. 2003) (preliminary injunction appropriate to obviate need to “unscramble the eggs”).




                                                      13
         Case
          Case8:22-cv-01142-PJM
               8:22-cv-01142-GLR Document
                                  Document1-122
                                           8-1 Filed
                                                Filed05/11/22
                                                      05/11/22 Page
                                                                Page18
                                                                     18ofof32
                                                                            32



         Irreparable injury exists if, as here, “seeking redress at law” would require the Plaintiffs to

initiate a “multiplicity of vexatious and unprofitable suits.” Smith, 24 A.2d at 801; accord

Columbia Ass’n, Inc. v. Downtown Columbia Arts & Culture Comm'n, Inc., 2021 WL 3127090, at

*9 (Md. Ct. Spec. App. July 23, 2021); see also Savoie, 84 F.3d at 58 (irreparable injury exists if

common fund distributed and prevailing plaintiffs will need to seek recovery from hundreds of

trust customers who received distributions; “a recourse [that] is so impractical as to be infeasible”).

         Here, absent an injunction, Plaintiffs face irreparable injury because if Cedar distributes

the Gross Proceeds and Plaintiffs later prevail on the merits, Plaintiffs would need to commence

lawsuits against thousands of defendants across the country to “claw back” the money wrongfully

distributed to Common Stockholders—“a recourse so impractical as to be infeasible.” Savoie, 84

F.3d at 58. Rather than compel Plaintiffs to initiate a “multiplicity of vexatious and unprofitable

suits” (Smith, 24 A.2d at 801), this Court should maintain the status quo by holding all the Gross

Proceeds in escrow until the case is resolved. If, by some unlikely turn of events, Defendants

ultimately prevail, the proceeds can simply be distributed to Common Stockholders at that time.

See Lerner, 511 A.2d at 512 (“complications can be avoided simply by maintaining the status quo

until the merits are decided.”).

   II.      PLAINTIFFS’ CLAIMS ARE LIKELY TO SUCCEED ON THE MERITS

         A. The Breach of Contract Claims Have a Strong Likelihood of Success

         Maryland contract law applies to a corporate charter, which is a contract between the

corporation and its stockholders. Impac Mortg. Holdings, Inc. v. Timm, 255 A.3d 89, 94 (2021).

Therefore, Maryland contract law also applies to “Articles Supplementary,” which “are simply an

amendment of the corporate charter.” Impac, 255 A.3d at 94, 112. To prove a breach of contract,

a plaintiff must show that the defendant owed plaintiff a contractual obligation and breached that

obligation. WSC/2005 v. Trio Ventures Assocs., 190 A.3d 255, 267 (Md. 2018).
                                                       14
      Case
       Case8:22-cv-01142-PJM
            8:22-cv-01142-GLR Document
                               Document1-122
                                        8-1 Filed
                                             Filed05/11/22
                                                   05/11/22 Page
                                                             Page19
                                                                  19ofof32
                                                                         32



       1. Section 4(a) of the Articles Supplementary Obligates Cedar to Pay the Liquidation
          Preference to Preferred Stockholders Before Any Distributions Are Made to
          Common Stockholders

       Section 4(a) of the Articles Supplementary clearly and unambiguously obligates Cedar to

pay the Liquidation Preference—before making any distributions to Common Stockholders—in

the event of a liquidation, dissolution, or winding up. (Enright Aff. Ex. 1 at 3 and Ex. 2).

       The process of liquidating and winding up entails disposing of existing assets, debts and

obligations; laying off officers and employees; and distributing remaining proceeds. See Dual Inc.

v. Lockheed Martin Corp., 857 A.2d 1095, 1103 (Md. 2004) (finding that company was not

“winding up” because “nothing in the record indicates that Dual made any attempt to dispose of

existing assets, debts, or obligations”); Comptroller Of Treasury v. Thompson Trailer Corp., 121

A.2d 850, 856 (Md. 1956) (“‘[t]he word ‘liquidation’ is synonymous with ‘winding up or

settlement with creditors.’ . . . it means ‘the act or operation of winding up the affairs of a firm or

company by getting in the assets, settling with its debtors and creditors, and appropriating the

amount of profit or loss.’”); Quadrangle Offshore (Cayman) LLC v. Kenetech Corp., 1999 WL

893575, at *12 (Del. Ch. Oct. 13, 1999) (liquidation and winding up involves sale of assets, paying

off creditors, laying off employees and officers, and distribution of remaining proceeds).

       Here, there is no question that Cedar is liquidating and winding up its business. Cedar is

selling all of its assets through the Proposed Transactions, using the proceeds to satisfy all of its

liabilities, and then distributing the net proceeds exclusively to Common Stockholders. Enright

Aff., Ex. 5 at §§ 1.1(a) & 3.1(d) (providing for payment of Closing Dividend to Common

Stockholders after repayment of all Other Remaining Liabilities). Cedar is also terminating its

Board and all of its officers and other employees; and canceling all of its Common Stock. Enright




                                                      15
      Case
       Case8:22-cv-01142-PJM
            8:22-cv-01142-GLR Document
                               Document1-122
                                        8-1 Filed
                                             Filed05/11/22
                                                   05/11/22 Page
                                                             Page20
                                                                  20ofof32
                                                                         32



Aff., Ex. 5 at §§ 2.4(b), 3.1(a)(ii)-(v), 6.7(a), and 6.14. Following the Proposed Transactions, Cedar

will exist—quite literally—in name only.

       Defendants will likely counter that Section 4(e) of the Articles Supplementary states that

“[n]one of a consolidation or merger of the Corporation with or into another entity . . . or a sale,

lease, transfers, or conveyance of all or substantially all of the Corporation’s assets . . . shall be

considered a liquidation, dissolution or winding up.” But Plaintiffs are not arguing that an asset

sale or merger standing alone without more would be considered a winding up or liquidation under

Section 4(a). Rather, notwithstanding Section 4(e), the Proposed Transactions trigger the

Liquidation Preference under Section 4(a) because the asset sales and merger comprising the

Proposed Transactions are accompanied by numerous other steps characteristic of a liquidation

and winding up such as discharging all debts, distributing all proceeds, dissolving the Board, and

terminating all employees. ¶¶134-36.

       Conversely, construing Section 4(e)—as Defendants apparently contend—to mean that a

transaction can never qualify as a winding up or liquidation whenever a sale of all assets is part of

the process would make it impossible for Preferred Stockholders to ever receive a Liquidation

Preference under Section 4(a). That is because every liquidation and winding by definition

involves a sale of all or substantially all of a company’s assets. See Quadrangle, 1999 WL 893575,

at *11 (“[t]he sale of assets is such a fundamental or integral part of a liquidation that it is almost

impossible to give meaning to the term liquidation without considering this element.”). For this

very reason, when interpreting a provision similar to Section 4(e), Quadrangle concluded that the

“asset sale exception was not designed to remove evidence of asset sales from an examination of

[the company’s] overall conduct, but to exclude an asset sale alone from being considered a




                                                      16
      Case
       Case8:22-cv-01142-PJM
            8:22-cv-01142-GLR Document
                               Document1-122
                                        8-1 Filed
                                             Filed05/11/22
                                                   05/11/22 Page
                                                             Page21
                                                                  21ofof32
                                                                         32



liquidation without evidence of other conduct falling within the meaning of that term.” Id. The

same interpretative logic applies here.

       Plaintiffs’ interpretation of Section 4(e) thus harmonizes it with Section 4(a), whereas

Defendants’ apparent interpretation of Section 4(e) renders Section 4(a) superfluous in violation

of accepted rules of construction. See Orkin v. Jacobson, 332 A.2d 901, 904 (Md. 1975) (“An

interpretation which gives reasonable meaning to all [of a contract’s] provisions will be preferred

to one which leaves a portion of the writing useless or inexplicable.”). And if there is any remaining

doubt about which interpretation is correct, the canon of construction known as contra

proferentem—that ambiguous language in a contract is construed against the party that drafted it

(Impac, 255 A.3d at 97)—would remove it. That is because the Articles Supplementary do not

define the terms “liquidation” or “winding up” as used in Section 4. Thus, the most that Defendants

could claim is that the language in Section 4 is ambiguous; that is, “susceptible of more than one

meaning.” Impac, 255 A.3d at 96. Absent extrinsic evidence to the contrary, contra proferentum

requires resolving that ambiguity against Defendants.         Thus, the Liquidation Preference is

triggered where (as here) disposition of all or substantially all assets by sale and “merger” is

coupled with numerous additional steps that are quintessential of a winding up/liquidation such as

discharge of all debts, distributions of all proceeds to stockholders, termination of the board of

directors and all officers and employees, and cancellation of all stock.

       2. Even If The Proposed Transactions Do Not Trigger the Liquidation Preference,
          They Effect a “Change of Control” Entitling Preferred Stockholders to Exercise
          their Conversion Rights

       The Articles Supplementary provide in Section 7 that, in the event Cedar undergoes a

“Change of Control,” the Preferred Stockholders have the right to convert their Preferred Stock




                                                     17
      Case
       Case8:22-cv-01142-PJM
            8:22-cv-01142-GLR Document
                               Document1-122
                                        8-1 Filed
                                             Filed05/11/22
                                                   05/11/22 Page
                                                             Page22
                                                                  22ofof32
                                                                         32



into Common Stock at a specified ratio (“Conversion Rights”), unless Cedar opts to pay them the

Liquidation Preference. (Enright Aff. Ex. 1 and 7 § 7(b)(i) and Ex. 2).

       Section 5(j) of the Articles Supplementary excludes transactions from the definition of a

Change of Control when the Preferred Stock will remain an obligation of a company with publicly-

traded stock:

       For the purposes of this Section 5 [Redemption] and Section 7 [Conversion] below,
       a “Change of Control” is when . . . the following have occurred . . . (x) the
       acquisition by any person . . . of beneficial ownership . . . through a purchase,
       merger or other acquisition transaction . . . of shares [Cedar] entitling that person
       to exercise more than 50% of the total voting power of all shares of [Cedar] . . . and
       (y) following the closing of any transaction referred to in clause (x), neither the
       Corporation nor the acquiring or surviving entity has a class of [publicly traded]
       common securities. . . . (Enright Aff. Ex. __ at __, § 5(j).

       The purpose of Section 5(j) is to provide Cedar with a measure of flexibility to merge into

or be acquired by another publicly traded entity without triggering a Change of Control and

Conversion Rights of Preferred Stockholders. However, if a transaction leaves the Cedar Preferred

Stock residing at a “surviving entity” that does not have publicly listed common stock, then the

transaction qualifies as a Change of Control under the language in Section 5(j) above.

       That is precisely the situation here. The Wheeler Merger Agreement provides that Cedar

will be a wholly-owned subsidiary of Wheeler, and to that end, defines the “Surviving Entity” in

the merger as Cedar. Further, Section 3.1(a)(iv) of the Wheeler Merger Agreement provides that

the Preferred Stock will remain an obligation of Cedar. Finally, Cedar—the “surviving entity”—

will no longer have publicly-traded stock. Thus, the Proposed Transactions do not leave a “class

of [publicly traded] common securities” at the same corporate level where the Preferred Stock




                                                    18
      Case
       Case8:22-cv-01142-PJM
            8:22-cv-01142-GLR Document
                               Document1-122
                                        8-1 Filed
                                             Filed05/11/22
                                                   05/11/22 Page
                                                             Page23
                                                                  23ofof32
                                                                         32



resides. Therefore, the Proposed Transactions are not excluded from the definition of Change of

Control by Section 5(j). 11

       It is no answer, as Cedar appears likely to contend, that the Preferred Stock is “expected to

remain listed on the [NYSE]” and that “the Surviving Company”—i.e., Cedar—“will continue to

be an independent filer of periodic reports with the [SEC].” [8-K at 2]. The bottom line is there

will be no class of publicly-traded common securities from the corporate entity to which the

Preferred Stock is tied (Cedar), and into which the Preferred Stock could be converted. Nor does

Section 5(j) exclude the Proposed Transactions from qualifying as a Change of Control because

Wheeler has publicly listed common stock. As noted above, the Preferred Stock remains an

obligation of Cedar (not Wheeler). Nor can the Preferred Stock convert into Wheeler preferred

stock or Wheeler common stock, or access Wheeler’s assets. Moreover, the “acquiring entity”

with which Cedar will “merge” to become a wholly-owned subsidiary is not Wheeler itself, but

rather another wholly owned subsidiary of Wheeler called “Merger Sub,” which has no publicly

listed common stock.

       To illustrate the absurdity of Defendants’ anticipated position, suppose that Cedar

undergoes another Change of Control sometime after consummation of the Proposed Transactions.


11
   As a matter of grammar, the verb after the phrase “neither the Corporation nor the acquiring or
surviving entity,” is “has” (singular), and not “have” (plural). Normally, when “neither” and “nor”
link a singular term and a plural one, proper usage requires putting the singular term after the
“neither,” and the plural term after the “nor,” and using a plural verb after the “nor” phrase (e.g.,
“neither the car nor the trucks are available”) (as per The New York Times Manual of Style and
Usage). In the Articles Supplementary, however, two terms appear after the “nor” (i.e., acquiring
entity and surviving entity), which is plural, and yet the verb is “has” (singular), and not “have”
(plural). Therefore, the language in Section 5(j) instructs the reader to look at one entity to
determine application of the exclusion, i.e., the entity at which the Preferred Stock will reside after
the transaction closes. Since the Preferred Stock will remain an obligation of Cedar, as the
“surviving” entity, that is the entity that matters for purposes of applying the exclusion in Section
5(j), and since Cedar will not have publicly-traded common stock, the exclusion does not apply.

                                                      19
       Case
        Case8:22-cv-01142-PJM
             8:22-cv-01142-GLR Document
                                Document1-122
                                         8-1 Filed
                                              Filed05/11/22
                                                    05/11/22 Page
                                                              Page24
                                                                   24ofof32
                                                                          32



How would Preferred Stockholders exercise their Conversion Rights? Per Section 7(b)(vii) of the

Articles Supplementary, the definition of “Common Stock Price” used to determine the ratio at

which Preferred Stock converts references “the average of the closing prices per share of Common

Stock on the NYSE for the ten days immediately preceding” (if the deal is not all-cash). But if, as

the Proposed Transactions contemplate, all of the Common Stock has been cancelled, this

provision simply cannot function. It follows that the Change of Control definition did not intend

to exclude transactions that maroon Preferred Stock at Cedar or another entity that lacks a “class

of common securities” that are publicly traded. 12

        At a minimum, the Change of Control definition is ambiguous, and for the reasons

explained above, the canon of contra proferentem requires interpreting it against the drafter.

        3. Cedar Breached the Covenant Of Good Faith and Fair Dealing.

        Implied in every contract is an obligation to act in good faith. Clancy v. King, 954 A.2d

1092, 1106 (Md. 2008). This obligation requires contracting parties to “exercise good faith in

fulfilling their contractual obligations,” and “deal fairly with the other party or parties to a

contract.” WSC/2005, 190 A.3d at 267. A contracting party acts in bad faith when it undertakes

any discretionary acts “that will have the effect of injuring or frustrating the right of the other party

to receive the fruits of the contract between them.” WSC/2005, 190 A.3d at 268. A contracting

party also acts in bad faith when a “primary motivation” for asserting specific contractual rights is

to injure the other party. Clancy, 954 A.2d at 1108 (citing Della Ratta v. Larkin, 856 A.2d 643,


12
    If the text, structure, context, and common sense were not enough, prior statements by the
Company accord with this understanding. For example, when issuing the Preferred Stock, the
company identified the following risk factor: “Other than in connection with a Change of
Control, the Series C Preferred Stock does not contain provisions that are intended to protect you
if our common stock is delisted from the NYSE.” Prospectus Supplement at S-12 (emphasis added)
(Enright Aff. Ex. 28). This statement recognizes that the Change in Control provision would be
triggered if a merger results in the Common Stock being delisted. That is precisely the case here.

                                                       20
       Case
        Case8:22-cv-01142-PJM
             8:22-cv-01142-GLR Document
                                Document1-122
                                         8-1 Filed
                                              Filed05/11/22
                                                    05/11/22 Page
                                                              Page25
                                                                   25ofof32
                                                                          32



657 (Md. 2004), finding bad faith where a “significant motivation for . . . issuing the capital call

was to squeeze out some of the limited partners” and the party “advanced the date of the capital

call in order to ‘out-maneuver’ the Withdrawing Partners and block them from exercising their

statutory right to withdraw.”). 13

        The Delaware Chancery Court’s reasoning in Quadrangle, supra, is directly on point, and

should be followed here because the Maryland courts “frequently look[] to Delaware courts for

guidance on issues of corporate law.” Oliveira, 152 A.3d at 736; see also MAS Assocs., LLC v.

Korotki, 214 A.3d 1076, 1089 n.11 (Md. 2019) (same). Quadrangle identified five factors that

made a series of transactions a de facto liquidation in violation of the covenant of good faith and

fair dealing: “(1) sale of assets; (2) paying off of creditors; (3) winding up of business affairs; (4)

distribution of remaining proceeds to shareholders; and (5) abandonment of corporate form.”

Quadrangle, 1999 Del. Ch. LEXIS 213, at *28-31. Importantly, a preferred stockholder need not

establish each and every one of these five factors to successfully characterize a series of

transactions as a liquidation. See id. Instead, using the above factors as signposts, a preferred

stockholder need only show by a “preponderance of the evidence” that defendants intentionally

embarked upon a course of action tantamount to a liquidation in bad faith with the intent of

dishonoring the preferred stockholders’ liquidation preference. Id. at *9-10. If a preferred

stockholder makes that showing, then the covenant of good faith implied in all contracts protects

the preferred stockholder from a de facto liquidation designed to frustrate its right to a liquidation

preference. Id. at *10. See also Gabhart v. Gabhart, 370 N.E.2d 345, 356 (Ind. 1977) (“a proposed

merger which has no valid purpose, which we construe to mean a purpose intended to advance a



13
  While Del Ratta is a breach of fiduciary duty case, “[t]he requirements of good faith in contract
law are similar to the good faith doctrine in partnership law.” Clancy, 954 A.2d at 1108.

                                                      21
       Case
        Case8:22-cv-01142-PJM
             8:22-cv-01142-GLR Document
                                Document1-122
                                         8-1 Filed
                                              Filed05/11/22
                                                    05/11/22 Page
                                                              Page26
                                                                   26ofof32
                                                                          32



corporate interest, and which merger would eliminate or reduce a minority shareholder's equity,

may be challenged, as a de facto dissolution”); Marcus v. W2007 Grace Acquisition I, Inc., 203 F.

Supp. 3d 332, 339 (S.D.N.Y. 2016) (adopting the Quadrangle factors).

        So too here, Cedar embarked upon a de facto liquidation. Cedar could have sold the

Wheeler Properties for cash and paid the Liquidation Preference, but instead deliberately

structured the Proposed Transactions as a merger in bad faith to: (i) frustrate the right of Preferred

Stockholders to receive the Liquidation Preference (and thereby maximize the proceeds for

Common Stockholders, including Defendants); and (ii) given Wheeler’s history of dysfunction

and oppression, crash the price of the Preferred Stock (seeking to facilitate a tender offer and/or

purchases at prices far below the $25.00 per share Liquidation Preference). Because Defendants

acted in bad faith and were improperly motivated by a desire to deprive Preferred Stockholders of

their contractual rights, their gambit violates the covenant of good faith implied in all contracts

and fair dealing. 14

        B. The Tortious Interference Claim Has a Strong Likelihood of Success.

        “The elements of tortious interference with contract are: 1) existence of a contract between

plaintiff and a third party; 2) defendant's knowledge of that contract; 3) defendant's intentional

interference with that contract; 4) breach of that contract by the third party; 5) resulting damages

to the plaintiff.” Fraidin v. Weitzman, 611 A.2d 1046, 1057 (Md. Ct. Spec. App. 1992). Given that

Wheeler is a sophisticated REIT and engaged in substantial due diligence prior to agreeing to the

Proposed Wheeler Merger, it would or should have been aware of the terms of the Articles

Supplementary governing the Preferred Stock. Nevertheless, Wheeler negotiated a plan that would


14
  The good faith and fair dealing claim based on destruction of the Conversion Rights is likely to
succeed for similar reasons. Defendants engineered the Proposed Transactions as a nominal
“merger” in a bad-faith attempt to circumvent those rights.

                                                     22
         Case
          Case8:22-cv-01142-PJM
               8:22-cv-01142-GLR Document
                                  Document1-122
                                           8-1 Filed
                                                Filed05/11/22
                                                      05/11/22 Page
                                                                Page27
                                                                     27ofof32
                                                                            32



allow it to take out the Preferred Stock (if any value is ever to flow that way) at prices far below

the Liquidation Preference. The Proposed Transactions, culminating in the Wheeler Merger, will

cause Cedar to breach the Articles Supplementary by liquidating without paying the Liquidation

Preference and eviscerating the Preferred Stockholders’ Conversion Rights.

         C. The Breach of Fiduciary Duty and Aiding and Abetting Claims Have a Strong
            Likelihood of Success.

         Maryland has long recognized that a preferred stockholder is “a member of the corporation

. . . expressly invested with all the incidents, rights, privileges, immunities and liabilities of a

stockholder.” Leviness v. Consol. Gas, Elec. Light & Power Co. of Baltimore, 80 A. 304, 306 (Md.

1911). Therefore, the Cedar Board owed fiduciary duties to Preferred Stockholders. See Eisenberg,

537 A.2d at 1062 (directors owe fiduciary duties to preferred stockholders); accord In re FLS

Holdings, Inc. S'holders Litig., No. CIV. A. 12623, 1993 WL 104562, at *4 (Del. Ch. Apr. 2,

1993).

         The Maryland Court of Appeals recently confirmed that breach of fiduciary duty is an

independent cause of action in Maryland. Plank, v. Cherneski, 231 A.3d 436, 465 (Md. 2020).

Under Section 2-405.1(c)(1) of Maryland’s General Corporation Law, directors owe stockholders

a duty of good faith. Directors also owe stockholders a duty to maximize the value of their shares

in connection with any change in control. See Plank, 231 A.3d at 456 (finding duty to maximize

value notwithstanding Section 2-405.1(i)).

         Here, as discussed above, Defendants acted in bad faith conduct by orchestrating a merger

designed to deprive Preferred Stockholders of their Liquidation Preference, destroy their

Conversion Rights, and crash the price of the Preferred Stock. Defendants’ selection of Wheeler

as a merger partner only magnifies their bad faith, given (i) Wheeler’s history of dysfunction and

oppression of its own preferred shareholders, and (ii) Cedar’s conclusion in November 2017 that

                                                    23
      Case
       Case8:22-cv-01142-PJM
            8:22-cv-01142-GLR Document
                               Document1-122
                                        8-1 Filed
                                             Filed05/11/22
                                                   05/11/22 Page
                                                             Page28
                                                                  28ofof32
                                                                         32



it would be “adversely consequential” to merge with Wheeler because of Wheeler’s small size

(when Wheeler was worth $95 million—nearly five time what it is worth today). See Enright Aff.,

Ex. 9 p. 56; Ex. 24. Far from maximizing the value of the Preferred Stock (as Schanzer promised

in September 2021 when he acknowledged a duty to maximize value for “all our shareholders”),

the Proposed Transactions have decimated the value of the Preferred Stock (as Schanzer tacitly

conceded in the March 2, 2022 press release announcing the Proposed Transactions when he stated

that “this combination of transactions represents the best possible outcome for our common

shareholders.”). (Enright Aff. Ex. 4 at Ex. 99.1).

       Preferred Stockholders thus have a strong direct claim for breach of fiduciary duty. See

Della Ratta, 856 A.2d at 657 (affirming injunction enjoining enforcement of capital call where

defendant breached fiduciary duty and acted in bad faith given that a “significant motivation for

. . . issuing the capital call was to squeeze out some of the limited partners” and defendant

“advanced the date of the capital call in order to ‘out-maneuver’ the Withdrawing Partners and

block them from exercising their statutory right to withdraw.”); Eisenberg, 537 A.2d at 1057-63

(preliminarily enjoining tender offer where preferred stockholder had shown a reasonable

probability that the defendants breached a fiduciary duty, and a reasonable probability of

irreparable harm outweighing whatever harm might result from the injunction); Cf. FLS, 1993 WL

104562, at *4 (rejecting settlement upon objection of preferred stockholder where directors owned

large amounts of common stock, and no independent adviser or independent directors’ committee

was appointed to represent the interests of the preferred stockholders who did not have a right to

vote on the transaction or allocation of proceeds, and who were in a conflict of interest situation

with the common).




                                                     24
       Case
        Case8:22-cv-01142-PJM
             8:22-cv-01142-GLR Document
                                Document1-122
                                         8-1 Filed
                                              Filed05/11/22
                                                    05/11/22 Page
                                                              Page29
                                                                   29ofof32
                                                                          32



       Likewise, the Plaintiffs have a strong claim against Wheeler for aiding and abetting the

Cedar Board’s breach of fiduciary duty because Wheeler is aware of the fiduciary duties owed by

the Cedar Board to Preferred Stockholders, and is knowingly participating in a breach of those

duties. In re MultiPlan Corp. S’holders Litig., 268 A.3d 784, 818 (Del. Ch. 2022)

     III. THE BALANCE OF CONVENIENCE STRONGLY FAVORS A PRELIMINARY
          INJUNCTION.

       In balancing the equities, the Court must weigh the potential harm to the Plaintiffs and

other Preferred Stockholders if the injunction is not issued against the potential harm to the

Defendants and Common Stockholders if injunctive relief is granted. Here, the equities weigh

decidedly in favor of granting the preliminary injunction. As noted, if the Court declines to grant

a preliminary injunction, and Plaintiffs prevail, they will almost certainly be unable to recover in

full because distribution of the Proposed Dividends cannot be undone, and the fair value of

Wheeler Properties is uncertain and may decrease over time. In contrast, if the Court grants a

preliminary injunction, and Defendants somehow prevail, the escrowed Proceeds can immediately

be distributed in full to Common Stockholders. See DMF Leasing, 871 A.2d at 645 (balance of

convenience tipped strongly in favor of plaintiff where not granting injunction will result in far

greater burden to plaintiff than burden to defendant from granting injunction). 15




15
  Since Plaintiffs are individual investors (primarily retirees) suing in a representative capacity to
redress breaches of contract and fiduciary duties, they respectfully submit that no bond (or only a
nominal bond) be required. See Md. Code Ann., Rule 15-503(c) (court may dispense with bond
requirement); ODS, 832 A.2d at 1264 (preliminarily enjoining corporate transaction on $5,000
bond); Vozzolo v. Air Canada, No. 20-CV-03503 (PMH), 2021 WL 5113387, at *8 & n.6
(S.D.N.Y. Nov. 3, 2021) (requiring no bond for preliminary injunction sought by class action
plaintiff).

                                                     25
      Case
       Case8:22-cv-01142-PJM
            8:22-cv-01142-GLR Document
                               Document1-122
                                        8-1 Filed
                                             Filed05/11/22
                                                   05/11/22 Page
                                                             Page30
                                                                  30ofof32
                                                                         32



   IV. THE PUBLIC INTEREST FAVORS A PRELIMINARY INJUNCTION.

       As the Raymond James analyst recognized, the Proposed Transactions establish “a bad

precedent for the [REIT] sector,” and are expected to cause “broader negative implications for the

[REIT] industry,” if Preferred Stockholders “are not made whole.” (Enright Aff. Ex. 19 at 2). Thus,

a preliminary injunction in this case serves the broader public interest.

       Additionally, class actions in general serve the public interest by ensuring effective

enforcement of applicable laws that individual investors would find uneconomical to pursue on

their own. See Bender v. Jordan, 439 F. Supp. 2d 139, 178 (D.D.C. 2006) (private actions by

investors to enforce the securities laws “perform a vital public service”). Similarly, if the

Defendants were to block the Plaintiffs’ preliminary injunction, Plaintiffs could likely only recover

on their claims by consuming judicial resources through litigating thousands of lawsuits against

Common Stockholders in courts around the country. The public interest of preserving judicial

resources by resolving the merits of the Preferred Stockholders’ claims in a single class action

lawsuit confirms that the public interest supports Plaintiffs’ preliminary injunction.

                                         CONCLUSION

       For the reasons set forth above, Plaintiffs respectfully move this Court for an order (i)

enjoining distribution of any of the Gross Proceeds from the Proposed Transactions to any

Common Stockholders pending a determination on the merits of Plaintiffs’ claims; (ii) enjoining

the Wheeler Merger; and (iii) imposing a constructive trust on all of the Gross Proceeds from the

Proposed Transactions in favor of Plaintiffs and the Class, and escrowing the Gross Proceeds,

pending a determination on the merits of Plaintiffs’ claims.


 Dated: May 6, 2022                            Respectfully submitted,


                                               /s/ Donald J Enright

                                                     26
     Case
      Case8:22-cv-01142-PJM
           8:22-cv-01142-GLR Document
                              Document1-122
                                       8-1 Filed
                                            Filed05/11/22
                                                  05/11/22 Page
                                                            Page31
                                                                 31ofof32
                                                                        32



                                      Donald J. Enright
                                      (Attorney ID: 9612170271)
                                      LEVI & KORSINSKY LLP
                                      1101 30th Street, NW, Suite 115
OF COUNSEL:                           Washington, DC 20007
                                      Telephone: (202) 524-4290
WOHL & FRUCHTER LLP                   denright@zlk.com
Joshua E. Fruchter
25 Robert Pitt Drive, Suite 209G
Monsey, NY 10952                      Counsel for Plaintiffs and [Proposed] Lead Counsel
Telephone: (845) 290-6818             for Putative Class
Facsimile: (718) 504-3773

Attorneys for Plaintiffs




                                          27
      Case
       Case8:22-cv-01142-PJM
            8:22-cv-01142-GLR Document
                               Document1-122
                                        8-1 Filed
                                             Filed05/11/22
                                                   05/11/22 Page
                                                             Page32
                                                                  32ofof32
                                                                         32



                                    CERTIFICATE OF SERVICE
       I hereby certify that on May 6, 2022, a copy of the foregoing Memorandum of Law In

Support of Plaintiffs’ Motion for Preliminary Injunction was served on counsel of record for

all parties via this Court’s MDEC electronic filing system.




                                                               /s/_Donald J. Enright
                                                               (Attorney ID: 9612170271)




                                                   28
